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                                          No. 19-873T
                                     (Filed: July 19, 2019)

*************************************
SHARON M. WALBY,                             *
                                             *
                      Plaintiff,             *
                                             *      Pro Se Plaintiff; Sua Sponte Dismissal;
       V.                                    *      Sovereign Citizen; Tax Protestor;
                                             *      Residency; Substantial Presence Test
THE UNITED STATES,                           *
                                             *
                      Defendant.             *
*************************************

Sharon M. Walby. Forestville, MI. pro se.

                                   OPINION AND ORDER

         In this case. prose plaintiff Sharon M. Walby asserts that she is not required to pay
income taxes because she is a nomesident alien under the Internal Revenue Code. Ms. Walby
insists that she is a citizen of Michigan, and not the United States, because she purportedly
renounced her United States citizenship in connection with a United States passport renewal
application in 2015. She seeks a refund of all federal income taxes withheld from her paychecks
for the 2014, 2016, 2017, and 2018 tax years, plus interest, costs, and punitive damages.

        As explained below, Ms. Walby failed to timely file her administrative refund claim for
the 2014 tax year. Further, her allegations with respect to each of the tax years at issue are
frivolous and lack merit. Accordingly, without awaiting a response from defendant, the court
dismisses Ms. Walby's complaint.

                                      L BACKGROUND

                             A. The Sovereign Citizen Movement

        Ms. Walby's complaint reflects that she adheres to the belief that even though she was
born and resides in the United States, she is not a "Fourteenth Amendment" United States citizen
but rather a citizen of the "sovereign state" of Michigan. This belief is a hallmark of the
sovereign citizen movement. So-called "sovereign citizens" believe that they are not subject to
federal government authority and employ various tactics in an attempt to, among other acts,
avoid paying taxes, extinguish debts, and derail criminal proceedings. See, e.g., Brown v. United
States, 105 F.3d 621, 622-23 (Fed. Cir. 1997) (describing an attempt to avoid payment of federal
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income taxes); United States v. Schneider, 910 F.2d 1569, 1570 (7th Cir. 1990) (describing an
attempt to present a defense in a criminal trial); Bryant v. Wash. Mut. Bank, 524 F. Supp. 2d
753, 755-56 (W.D. Va. 2007) (describing an attempt to satisfy a mortgage).

        The goal of some sovereign citizens is the recovery of money from the United States that
they actually-in the form of taxes-or purpmiedly paid to the government. See, e.g., Ambort v.
United States, 392 F.3d 1138, 1139 (10th Cir. 2004) (describing attempts to obtain a refund of
federal income taxes); Rivera v. United States, 105 Fed. Cl. 644, 646-47 (2012) (describing the
plaintiffs allegations that the issuance of his birth certificate and social security number created
trust accounts containing money that the federal government owed to him). As the Honorable
Norman K. Moon explained, such claims-which he described as "equal parts revisionist legal
history and conspiracy theory"-are premised upon the belief that

               prior to the passage of the Fourteenth Amendment, there were no
               U.S. citizens; instead, people were citizens only of their individual
               states. Even after the passage of the Fourteenth Amendment, U.S.
               citizenship remains optional. The federal government, however,
               has tricked the populace into becoming U.S. citizens by entering
               into "contracts" embodied in such documents as birth certificates
               and social security cards.

Bryant, 524 F. Supp. 2d at 758; see also id. at 758-59 (describing further tenets of the "sovereign
citizen" movement); accord United States v. Glover, 715 F. App'x 253,255 n.2 (4th Cir. 2017)
(unpublished per curiarn decision) ("Adherents to sovereign citizen theory believe in a vast
governmental conspiracy governed by complex, arcane rules, according to which sovereign
citizens are exempt from many laws, including the obligation to pay taxes .... " (internal
quotation marks omitted)). The theory that "individuals ('free born, white, preamble, sovereign,
natural, individual common law "de jure" citizens of a state, etc.') are not 'persons' subject to
taxation under the Internal Revenue Code" has long been rejected as "completely lacking in legal
merit and patently frivolous." Lonsdale v. United States, 919 F.2d 1440, 1448 (10th Cir. 1990).

                              B. Ms. Walby's Factual Allegations

        Ms. Walby was born in Wyandotte, Michigan, in 1958. Comp!. ,r 51; Comp!. Ex. 3 at
7-8; see also Comp!. Ex. 2 at 6 ("My affidavits clearly indicate I was born in Michigan."). Both
of her parents were also born in Michigan. Comp!. Ex. 3 at 5. As relevant here, she has lived in
Michigan continuously since at least 2014. See Comp!. Ex. 1 at 5; Comp!. Ex. 2 at 7-8. Indeed,
Ms. Walby describes herself as a "Citizen-Inhabitant of Michigan," Comp!. ,r 18, avers that she
has "never abrogated her Michigan Citizenship," id. ,r 27 (emphasis added), and does not allege
that she has even travelled (much less lived) abroad at any point in 2014 or thereafter.




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        Ms. Walby has worked for Baker College in Michigan since at least 2006. 1 See Comp!.
Ex. 3 at 7. In 2014, Baker College withheld $9,751.60 in federal income taxes out of$63,070.00
in taxable wages from Ms. Walby's paychecks. Comp!. ,r 4; Comp!. Ex. I at 5. Beginning in
2015, she claimed exemption from such withholdings via Internal Revenue Service ("IRS")
Form W-4, Employee's Withholding Allowance Certificate, and IRS Form 8233, Exemption
From Withholding on Compensation for Independent (and Certain Dependent) Personal Services
of a Nomesident Alien Individual. Comp!. ,r 32. Accordingly, Baker College did not withhold
any federal income taxes from Ms. Walby's paychecks in 2015. Id. In November 2016, the IRS
directed Baker College to begin withholding federal income taxes from her paychecks with zero
allowances; Baker College has continued to do so through the filing of the complaint. Id. ,r,r 32,
37. To that end, Baker College has withheld the following amounts of federal income taxes from
Ms. Walby's paychecks each year:

                                                           Federal
                                             Taxable
                                   Year                  Income Tax
                                             Income
                                                          Withheld
                                   2016      $72,690.00    $1,882.36
                                   2017      $72,756.72   $13,032.52
                                   2018     $65,450.00 2  $10,924.43

Id.   ,r 4; Comp!. Ex. 2 at 7-8.
         On January 14, 2015, at approximately the same time she began claiming exemption
from withholding, Ms. Walby executed an "Affidavit of Citizenship" before a notary public in
Michigan, Comp!. Ex. 3 at 8-9, and promptly submitted the affidavit to the United States
Department of State ("State Department"). Comp!. ,r 19; Comp!. Ex. 2 at 4-5. In that affidavit,
Ms. Walby declared that she was a sovereign citizen of Michigan, and because she was "not
restricted by the 14th Amendment" to the United States Constitution, she was not a United States
citizen thereunder but rather a nomesident alien not subject to income taxes. Comp!. Ex. 3 at
8-9. According to Ms. Walby, she "became a non-resident alien (a.k.a. U.S. National)" by the
act of submitting the affidavit. Comp!. Ex. 1 at 2; Comp!. Ex. 2 at 4. She also attached the
"Affidavit of Citizenship" to her passport renewal application filed in early 2016, Comp!. ,r 19;
Comp!. Ex. 3 at 6, and received a renewed United States passport on February 16, 2016, Comp!.
,r 30.
          Taking the position that, as a sovereign citizen, she was exempt from federal income
taxes, Ms. Walby did not file any federal income tax returns for the 2014 through 2018 tax years.
Id. ,r,r 4, 35. On December 22, 2017, Ms. Walby filed Form 843, Claim for Refund and Request
for Abatement, with the IRS in an attempt to receive a refund of the federal income taxes

          1
          Ms. Walby does not allege that she has worked for any other employers during the
relevant time periods.
          2The $65,450.00 figure reflects amounts paid through November 30, 2018, and not the
full year. Comp!. Ex. 3 at 8.


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withheld from her paychecks in 2014. Id.; see also Comp!. Ex. I (refund claim for 2014). On
December 8, 2018, Ms. Walby filed another Form 843, Claim for Refund and Request for
Abatement, with the IRS, this time seeking a refund of the federal income taxes withheld from
her paychecks in 2016, 2017, and 2018. Comp!. 14; Comp!. Ex. 2 (refund claim for 2016, 2017,
and 2018). In each of her refund claims, Ms. Walby argued that she is "a Citizen of one of the
several States, known as Michigan, and not a 14th Amendment citizen, subject to income tax."
.!:hg,, Comp!. Ex. 2 at I.

       Despite her request for a hearing, id. at 4, Ms. Walby alleges that she received no
response to her refund claims, Comp!. 14. She then filed the instant lawsuit on June 13, 2019.

                                   II. LEGAL STANDARDS

                                       A. Pro Se Plaintiffs

         Generally, the court "must accept as true all undisputed facts assetted in the plaintiffs
complaint and draw all reasonable inferences in favor of the plaintiff." Trusted Integration, Inc.
v. United States, 659 F.3d 1159, 1163 (Fed. Cir. 2011). Moreover, prose pleadings ate "held to
less stringent standards than formal pleadings drafted by lawyers" and are "to be liberally
construed." Erickson v. Pardus, 551 U.S. 89, 94 (2007) (per curiatn) (quoting Estelle v. Gamble,
429 U.S. 97, I 06 (1976)). However, the "leniency afforded to a prose litigant with respect to
mere formalities does not relieve the burden to meet jurisdictional requirements." Minehan v.
United States, 75 Fed. Cl. 249, 253 (2007); accord Henke v. United States, 60 F.3d 795, 799
(Fed. Cir. 1995) ("The fact that [the plaintiff] acted prose in the drafting of [her] complaint may
explain its atnbiguities, but it does not excuse its failures, if such there be."). In other words, a
pro se plaintiff is not excused from her burden of proving, by a preponderance of evidence, that
the court possesses jurisdiction. See McNutt v. Gen. Motors Acceptance Corp., 298 U.S. 178,
179 (1936); Banks v. United States, 741 F.3d 1268, 1277 (Fed. Cir. 2014) (citing Reynolds v.
Army & Air Force Exch. Serv., 846 F.2d 746, 748 (Fed. Cir. 1988)).

                                 B. Subject-Matter Jurisdiction

         Whether the court possesses jurisdiction to decide the merits of a case is a "threshold
matter." Steel Co. v. Citizens for a Better Env't, 523 U.S. 83, 94-95 (I 998). Subject-matter
jurisdiction cannot be waived or forfeited because it "involves a court's power to hear a case."
Arbaugh v. Y & H Corp., 546 U.S. 500,514 (2006) (quoting United States v. Cotton, 535 U.S.
625, 630 (2002)). "Without jurisdiction the court cannot proceed at all in any cause. Jurisdiction
is power to declare the law, and when it ceases to exist, the only function remaining to the court
is that of announcing the fact and dismissing the cause." Ex parte McCardle, 74 U.S. (7 Wall)
506, 514 (I 868). Therefore, it is "an inflexible matter that must be considered before proceeding
to evaluate the merits of a case." Matthews v. United States, 72 Fed. Cl. 274, 278 (2006); accord
K-Con Bldg. Sys., Inc. v. United States, 778 F.3d 1000, 1004-05 (Fed. Cir. 2015).




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        Either party, or the court sua sponte, may challenge the court's subject-matter jurisdiction
at any time. Arbaugh, 546 U.S. at 506; see also Jeun v. United States, 128 Fed. Cl. 203, 209-10
(2016) (collecting cases). The court must examine all pertinent issues relevant to subject-matter
jurisdiction because "[c]ourts have an independent obligation to determine whether subject-
matter jurisdiction exists, even when no party challenges it." Hertz Corp. v. Friend, 559 U.S. 77,
94 (2010); accord Gonzalez v. Thaler, 565 U.S. 134, 141 (2012) ("When a requirement goes to
subject-matter jurisdiction, courts are obligated to consider sua sponte issues that the parties have
disclaimed or have not presented."). If the court finds that it lacks subject-matter jurisdiction
over a claim, Rule 12(h)(3) of the Rules of the United States Court of Federal Claims ("RCFC")
requires the court to dismiss that claim.

                                       C. The Tucker Act

        The ability of the United States Court of Federal Claims ("Court of Federal Claims") to
entertain suits against the United States is limited. "The United States, as sovereign, is immune
from suit save as it consents to be sued." United States v. Sherwood, 312 U.S. 584,586 (1941).
The waiver of immunity "may not be inferred, but must be unequivocally expressed." United
States v. White Mountain Apache Tribe, 537 U.S. 465, 472 (2003). The Tucker Act, the
principal statute governing the jurisdiction of this court, waives sovereign immunity for claims
against the United States, not sounding in tort, that are founded upon the United States
Constitution, a federal statute or regulation, or an express or implied contract with the United
States. 28 U.S.C. § 1491(a)(l) (2012); White Mountain, 537 U.S. at 472. However, the Tucker
Act is merely a jurisdictional statute and "does not create any substantive right enforceable
against the United States for money damages." United States v. Testan, 424 U.S. 392, 298
(1976). Instead, the substantive right must appear in another source of law, such as a "money-
mandating constitutional provision, statute or regulation that has been violated, or an express or
implied contract with the United States." Loveladies Harbor, Inc. v. United States, 27 F.3d 1545,
1554 (Fed. Cir. 1994) (en bane).

                                       D. Tax Refund Suits

        Congress has granted the Court of Federal Claims the authority to entertain tax refund
suits. 28 U.S.C. § 1346(a)(l); United States v. Clintwood Elkhorn Mining Co., 553 U.S. I, 4
(2008). To bring a tax refund suit, a plaintiff must:

               •   make full payment of her tax liabilities, Flora v. United States,
                   362 U.S. 145,177 (1960); Diversified Grp. Inc. v. United
                   States, 841 F.3d 975, 981 (Fed. Cir. 2016);

               •   file a timely claim for refund with the IRS, I.R.C. § 7422(a)
                   (2012); and

               •   file a timely complaint after the refund claim is denied or
                   deemed denied, id. § 6532(a).



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Further, plaintiffs filing a tax refund suit in the Court of Federal Claims must include the
following with the complaint:

               ( 1) a copy of the claim for refund, and

               (2) a statement identifying:

                     (A) the tax year(s) for which a refund is sought;

                     (B) the amount, date, and place of each payment to be
                         refunded;

                     (C) the date and place the return was filed, if any;

                     (D) the name, address, and identification number (under
                         seal) of the taxpayer( s) appearing on the return;

                     (E) the date and place the claim for refund was filed; and

                     (F) the identification number (under seal) of each plaintiff, if
                         different from the identification number of the taxpayer.

RCFC 9(m).

                                   E. Failure to State a Claim

       In addition to considering subject-matter jurisdiction sua sponte, the court may dismiss a
complaint sua sponte for failure to state a claim upon which relief could be granted if "the
pleadings sufficiently evince a basis for that action." Anaheim Gardens v. United States, 444
F.3d 1309, 1315 (Fed. Cir. 2006); accord Constant v. United States, 929 F.2d 654,657 (Fed. Cir.
1991) (holding that a sua sponte dismissal for failure to state a claim did not violate due process
when the "claim was untenable as a matter of law, and no additional proceedings could have
enabled [the plaintiff] to prove any set of facts entitling him to prevail on his claim for relief');
Sun v. United States, 130 Fed. Cl. 569, 569 ("[P]ursuant to its inherent authority, the Court sua
sponte dismisses [the plaintiff's] complaint for failure to state a claim."), aff'd, 668 F. App'x 888
(Fed. Cir. 2016) (unpublished decision). In such circumstances, "any expenditure of
governmental resources in preparing a defense to [the] complaint would be a waste of public
funds." Sun, 130 Fed. Cl. at 569.




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                                         III. ANALYSIS

        In her complaint, Ms. Walby alleges that she is not subject to federal income tax for the
2014 and 2016 through 2018 tax years because she is a citizen of Michigan and not the United
States, and therefore she is entitled to a refund of the federal income taxes withheld from her
paychecks. Ms. Walby is incorrect. Despite her protests to the contrary, she is a United States
citizen under federal law. To the extent that she is not a United States citizen, she is nevertheless
a United States resident for tax purposes.

       A. The Court Lacks Jurisdiction to Consider Ms. Walby's 2014 Refund Claim

        As an initial matter, the court must determine whether it has subject-matter jurisdiction
over the allegations contained in Ms. Walby's complaint. As noted above, a plaintiff must meet
three requirements to invoke subject-matter jurisdiction in this court with respect to a tax refund
claim: full payment, a timely administrative claim, and a timely complaint.

                                         1. Full Payment

        Ms. Walby meets the full-payment requirement with respect to each of the tax years
identified in her complaint (i.e., 2014 and 2016 through 2018) because the disputed taxes were
withheld from her paychecks, as shown on the W-2s and pay stubs that she attached as exhibits
to her complaint.

                                2. Timely Administrative Claim

        By requiring that a plaintiff file a timely refund claim with the IRS, I.RC. § 7422(a)
creates a jurisdictional prerequisite to filing a refund suit in this court. Chi. Milwaukee Corp. v.
United States, 40 F.3d 373,374 (Fed. Cir. 1994); see also Clintwood Elkhorn, 553 U.S. at 7
(noting that Congress must have intended I.R.C. § 7422(a) to have an expansive reach given its
inclusion of five "any's" in one sentence). In addition, the timely administrative claim
requirement "is designed both to prevent surprise and to give adequate notice to the [IRS] of the
nature of the claim and the specific facts upon which it is predicated, thereby permitting an
administrative investigation and determination." Computervision Corp. v. United States, 445
F.3d 1355, 1363 (Fed. Cir. 2006) (internal quotation marks omitted).

         For individuals, a refund claim must generally be made "on the appropriate income tax
return" or amended return. Treas. Reg.§ 301.6402-3(a) (2017). As noted above, Ms. Walby did
not file any tax returns for the years at issue. Nevertheless, the court assumes (without deciding)
that the Forms 84 3 which Ms. Walby filed with the IRS constitute valid refund claims. See id.
§ 301.6402-2(b)(l) (describing the requirements ofa valid refund claim).

        To be timely, a plaintiff must file her administrative refund claim "within 3 years from
the time the return was filed or 2 years from the time the tax was paid, whichever of such periods
expires the later." I.RC. § 65 ll(a). When "no return was filed by the taxpayer," a refund claim
is timely ifit is filed "within 2 years from the time the tax was paid." Id. Further, "[n]o credit or


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refund shall be allowed or made after the expiration of the period of limitation prescribed in
[I.R.C. § 651 l(a)] for the filing of a claim for credit or refund, unless a claim for credit or refund
is filed by the taxpayer within such period." Id.§ 651 l(b)(l). Because Ms. Walby
acknowledges that she filed no tax returns for the years at issue, the court must compare the dates
on which the tax was paid for each year with the dates on which she filed her refund claims with
the IRS.

        Payments made via withholding credits are deemed paid on April 15 of the following
year for calendar-year taxpayers. Id.§ 6513(b)(l). Thus, Ms. Walby's withheld federal income
taxes for 2014 are deemed to have been paid on April 15, 2015. Because she did not file her
purported administrative refund claim for the 2014 withheld taxes until December 22, 2017-
i.e., more than two years later-that refund claim was untimely. However, Ms. Walby's
purported refund claims for the 2016 through 2018 tax years were timely. Her withheld federal
income taxes for those years were deemed paid on April 15, 2017 (for 2016); April 15, 2018 (for
2017); and April 15, 2019 (for 2018). She filed her purported refund claims for those years on
December 8, 2018-i.e., less than two years later.

                                       3. Timely Complaint

        Ms. Walby also meets the timely-complaint requirement for each of the tax years at issue.
A plaintiffs complaint is timely if filed within two years of the date on which the IRS denies an
administrative refund claim. Id.§ 6532(a)(l). When the IRS does not act on a refund claim, a
plaintiff must wait at least six months after filing the refund claim before filing suit. Id. In other
words, a refund claim is deemed denied if the IRS fails to respond within six months, at which
point a plaintiff may initiate a lawsuit. Ms. Walby filed her purported refund claims on
December 22, 2017 (for 2014), and December 8, 2018 (for 2016 through 2018). The IRS failed
to act on her claims, and she filed her complaint in this court on June 13, 2019-i.e., more than
six months later.

                                            4. Summary

        The Court of Federal Claims lacks subject-matter jurisdiction to consider Ms. Walby's
refund claim for 2014 because Ms. Walby failed to file a timely administrative refund claim for
that year. However, the court has jurisdiction to consider her refund claims for 2016 through
2018. Further, Ms. Walby has satisfied the pleading requirements ofRCFC 9(m). Therefore, the
court shall now turn to the crux of her claims: whether Ms. Walby is exempt from tax as a
Michigan citizen and United States noncitizen. 3




        3
           Although the court lacks subject-matter jurisdiction to consider Ms. Walby's refund
claim for the 2014 tax year, it nevertheless considers whether she has stated a plausible claim for
relief as an alternative ground for dismissal and because she advances the same reasoning to
support her claim for 2014 as she does for 2016 through 2018.


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                              B. Ms. Walby Is a United States Citizen

        It is well understood that, with few exceptions, individuals born in the United States are
indeed United States citizens. The Fourteenth Amendment-which was ratified on July 28,
1868-provides, in relevant part, that "[a]ll persons born or naturalized in the United States, and
subject to the jurisdiction thereof, are citizens of the United States and of the State wherein they
reside." (emphasis added). Similarly, Congress has declared that "a person born in the United
States, and subject to the jurisdiction thereof' is a United States citizen at birth. 8 U.S.C.
§ 1401(a) (2012). This provision has been in force since 1952. 4 See Immigration and
Nationality Act, ch. 477, § 301(a)(l), 66 Stat. 163,235 (1952).

        The exception to birthright citizenship--------i.e., individuals not subject to the jurisdiction of
the United States-is a narrow one. It applies only to children born to foreign diplomats, which
typically enjoy immunity under federal law and are thus not subject to its jurisdiction, and certain
other diplomatic officers. See 8 C.F.R. §§ 101.3(a)-(b), 1101.3(a)-(b) (2014). Ms. Walby does
not allege that her parents were foreign diplomatic officers at the time of her birth. Indeed, both
of her parents were, like her, born in Michigan, and thus have always been United States citizens.

        A United States citizen can, however, lose her citizenship "by voluntarily performing
[certain] acts with the intention of relinquishing United States nationality." 8 U.S.C. § 148l(a).
As relevant here, one such act is by making a formal renunciation. See id.§ 148l(a)(5)-(6). A
person renouncing her citizenship while in the United States must do so formally, in writing, "in
such form as may be prescribed by, and before such officer as may be designated by, the
Attorney General, whenever the United States shall be in a state of war and the Attorney General
shall approve such renunciation as not contrary to the interests of national defense." Id.
§ 1481(a)(6).

        Ms. Walby apparently attempted to renounce her citizenship by submitting her "Affidavit
of Citizenship," which she executed in Michigan, to the State Department. However, she does
not allege that she fulfilled the remaining requirements of8 U.S.C. § 1481(a)(6). Therefore,
because the burden of proof to establish a "loss of United States nationality [is] upon the person
or party claiming that such loss occurred," id.§ 1481(b), her attempted renunciation is
ineffective. Further, Ms. Walby cannot avail herself of the less stringent requirements of 8
U.S.C. § 1481(a)(5) because that subsection only applies to renunciations made while abroad.
See id.§ 1483(a) (providing that loss of nationality while in the United States can only take place
as provided in 8 U.S.C. § 1481(a)(6)-(7)). Finally, Ms. Walby does not allege that she took any
other acts listed in 8 U.S.C. § 148 l(a) that would result in loss of citizenship, that the State
Department has issued her a certificate of loss of nationality, or that a court of competent
jurisdiction has declared her to be a noncitizen. See I.R.C. §§ 877A(g)(4) (listing when a


        4
          It is well understood that there are "two sources of citizenship, and two only-birth and
naturalization." United States v. Wong Kim Ark, 169 U.S. 649, 702 (1898). The law in effect at
the time of an individual's birth is determinative of whether that individual acquires so-called
birthright citizenship. See, e.g., Thomas v. Lynch, 796 F.3d 535, 538 (5th Cir. 2015).


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"citizen shall be treated as relinquishing [her] United States citizenship"), 7701(a)(50)(A) ("An
individual shall not cease to be treated as a United States citizen before the date on which the
individual's citizenship is treated as relinquished under section 877A(g)(4).").

       Accordingly, Ms. Walby has failed to demonstrate that she is not a United States citizen.
Indeed, her arguments to the contrary are patently frivolous.

                 C. Ms. Walby Is a United States Resident for Tax Purposes

        Even assuming, for the sake of argument only, that Ms. Walby is not a United States
citizen, she is still a resident for tax purposes and thus her argument that she is a "nomesident
alien" not subject to tax fails.

         For tax purposes, an individual is classified as either a (1) "United States person"-i.e., a
"citizen or resident of the United States"-or (2) "nomesident alien." Id.§ 7701(a)(30)(A),
(b)(l); accord Treas. Reg.§ 1.871-l(a) ("For purposes of the income tax, alien individuals are
divided generally into two classes, namely, resident aliens and nomesident aliens. Resident alien
individuals are, in general, taxable the same as citizens of the United States .... "). A noncitizen
is treated as a resident with respect to a particular calendar year in three circumstances:
(1) obtaining lawful permanent residence at any time during the year, (2) meeting the
"substantial presence" test, or (3) making a first-year election. I.R.C. § 7701(b)(l)(A). A person
is treated as a "nomesident alien" only if she is neither a citizen nor treated as a resident. Id.
§ 7701(b)(l)(B).

         Michigan is located within the United States. Id. § 7701(a)(9). Ms. Walby therefore
meets the "substantial presence" test because she was present in the United States for the entirety
of the 2014 through 2018 tax years; she does not allege that any of that time is exempt for
purposes of the test. See id.§ 7701(b)(3), (5) (describing the requirements of the "substantial
presence" test and its exemptions). Further, because a person who meets the "substantial
presence" test for a particular year is deemed a resident as of the first day during that year on
which she is present in the United States, id.§ 7701(b)(2)(A)(iii), and because Ms. Walby was
present for the entirety of each of the years at issue, Ms. Walby was a United States resident for
the entire 2014 through 2018 tax years.

                       D. Ms. Walby Is Subject to Federal Income Tax

        Having established that Ms. Walby is a United States person (either by citizenship or
residency pursuant to the "substantial presence" test), the court considers whether she was
subject to federal income tax for the 2014 or 2016 through 2018 tax years.

        The Internal Revenue Code provides that a United States citizen or resident with gross
income above a certain amount in a taxable year is generally subject to tax and must file a tax
return for that year. Id.§ 6012(a)(l). See generally Treas. Reg.§ 1.6012-1. A citizen or




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resident must file her tax return using Form 1040, 5 whereas a "nonresident alien" required to file
a tax return must do so using Form 1040NR. Id.§ l.6012-l(a)(6), (b)(l)(i).

         Ms. Walby's gross income for 2014 was $63,070. It was substantially higher in each of
the 2016 through 2018 years. Assuming that Ms. Walby was eligible to elect the "married filing
jointly" filing status for each of those years, and further assuming that her spouse had no income,
her gross income was above the amount at which she was liable for federal income taxes and
thus required to file a tax return (i.e., the filing threshold). The filing threshold for joint filers-
the status with the highest filing threshold-is the "sum of twice the exemption amount plus the
basic standard deduction applicable to a joint return." l.R.C. § 6012(a)(l)(iv). Accordingly, the
filing threshold for each year at issue was as follows:

                                       Personal  Standard  Filing
                           Year
                                      Exemption Deduction Threshold
                           2014           $3,950   $12,400  $20,300
                           2016           $4,050   $12,600  $20,700
                           2017           $4,050   $12,700  $20,800
                           2018               $0   $24,000  $24,000

See id.§§ 63(c) (defining the "standard deduction"), 151(d) (defining the "exemption amount").
Because Ms. Walby's gross income exceeded the filing threshold for each of the tax years at
issue, she was subject to tax and required to file Form 1040 for each of those years. 6




        5
          Some individuals qualify to file tax returns using Form 1040A, which is "an optional
short form" version of Form 1040. Treas. Reg.§ l.6012-l(a)(6). But see l.R.S. News Release
IR-2019-07 (Jan. 28, 2019) (describing a "redesigned" Form 1040 that "consolidates Forms
I 040, 1040A, and 1040EZ into one form that all individual taxpayers will use to file their 2018
federal income tax return").
        6
           Even if Ms. Walby had been a "nonresident alien" for the years at issue, she was still
subject to United States federal income tax on her wages earned from Michigan sources while
residing in Michigan. Nonresident aliens are subject to tax at regular tax rates on income "which
is effectively connected with the conduct of a trade or business within the United States." l.R.C.
§ 87l(b)(l). The Internal Revenue Code defines "[c]ompensation for labor or personal services
performed in the United States" for a domestic employer as being income from a United States
source. Id.§ 86l(a)(3). Receiving such compensation (i.e., in the form of wages or salaries)
constitutes engaging in the "trade or business" of being an employee in the United States, Treas.
Reg.§ l.864-4(c)(6)(ii), which amounts to receiving income that is "effectively connected with
the conduct of [such] trade or business," l.R.C. § 864(c)(3). Unlike United States citizens and
residents, however, nonresident aliens are generally allowed only business deductions and the
personal exemption, and not the standard deduction. Id. § 873. They must file a "true and
accurate" tax return to avail themselves of these deductions. Id.§ 874(a).

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        The court also observes that the IRS was within its authority to require Ms. Walby' s
employer to withhold federal income taxes at the "single" rate with zero allowances, see Treas.
Reg. § 31.3402(£)(2)-1 (g)(2), which was a reasonable collection effort for the IRS to pursue in
November 2016 given that Ms. Walby had, at that point, neither filed tax returns nor paid income
taxes (through withholding or otherwise) for multiple years. To the extent that Ms. Walby
believes her employer withheld excessive amounts for a pa1iicular tax year, she must file a tax
return on Fo1m 1040 to seek a refund.

                                        IV. CONCLUSION

        Ms. Walby's refund claim for 2014 was untimely. Further, her refund claims for 2014
and 2016 through 2018 are meritless. Ms. Walby is a United States citizen; she was born in
Michigan and has resided and worked there continuously. Her arguments that she is a Michigan
citizen, but not a citizen of the United States, are frivolous. In any event, to the extent that she is
a noncitizen, Ms. Walby is a United States resident for tax purposes. She is subject to tax and
required to file a tax return on Form 1040. Finally, the IRS was within its rights to direct Ms.
Walby's employer to withhold federal income taxes from her paychecks. To the extent that any
such withholding was excessive, Ms. Walby must file a tax return to obtain a refund.

        Accordingly, the comi dismisses Ms. Walby's complaint, sua sponte, for lack of subject-
matter jurisdiction (with respect to 2014) and for failure to state a claim upon which relief can be
granted (with respect to 2016 through 2018). To the extent that the court has jurisdiction over
Ms. Walby's 2014 refund claim, the court dismisses it for failure to state a claim upon which
relief can be granted. No costs. The clerk is directed to enter judgment accordingly.

       IT IS SO ORDERED.




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